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   1                    UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
   2                        SOUTHERN DIVISION

   3
        BORROUGHS CORPORATION and
   4    BORROUGHS CORPORATION EMPLOYEE
        BENEFIT PLAN
   5

   6                        Plaintiffs.

   7          v.                               Case No. 11-12565

   8
        BLUE CROSS BLUE SHIELD OF MICHIGAN
   9
                            Defendants.
  10

  11    and

  12
        HI-LEX CONTROLS INCORPORATED,
  13    HI-LEX CORPORATION HEALTH AND WELFARE PLAN,

  14          v.                               Case No. 11-12557

  15
        BLUE CROSS AND BLUE SHIELD OF MICHIGAN,
  16
                         Defendants.
  17    _________________________________________/

  18

  19                PLAINTIFF'S MOTION TO COMPEL DISCOVERY

  20                 BEFORE MAGISTRATE-JUDGE PAUL J. KOMIVES
                       United States District Judge
  21               231 US Courthouse & Federal Building
                       635 Lafayette Boulevard West
  22                         Detroit, Michigan
                          Wednesday, April 11, 2012
  23

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   1    APPEARANCES:

   2
        FOR THE PLAINTIFF:     AARON M. PHELPS
   3                           PERRIN RYNDERS

   4

   5    FOR THE DEFENDANT:     JASON R. GOURLEY
                               MICHAEL RECHTIEN
   6

   7

   8    COURT RECORDER:     EDDREY BUTTS

   9

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   2

   3                     C   O   N   T   E   N   T   S

   4         ___________________________________________

   5    IDENTIFICATION                                        PAGE

   6    WITNESSES

   7    None.

   8    Plaintiff's Second Motion to Compel Discovery            4

   9

  10    Certificate of Court Reporter                            9

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  13                     E   X   H   I   B   I   T   S

  14

  15         __________________________________________

  16    IDENTIFICATION                                    RECEIVED

  17

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  19                         None    Marked

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   1                Detroit, Michigan

   2                Wednesday April 11, 2012

   3                1:02 p.m.

   4                (The transcriber was not present

   5                at this hearing)

   6         THE COURT:     The Rule 30(b)(6) deposition that the

   7    plaintiffs are desirous of taking, and it was noted that there

   8    is a motion to quash with regard to that matter that is

   9    scheduled for hearing on the 25th of April.

  10         And so that issue, insofar as it appears on the motion

  11    papers that are -- the motion to compel that is up today, is

  12    kind of off the table for today and we'll have to await the

  13    hearing on the 25th with regard to that motion to quash.

  14         The other principle issue that is raised in the motion to

  15    compel has to do with the plaintiff's desire to have the

  16    defendant's conduct a search of their records with regard to

  17    certain information that some 30 employees or former employees

  18    of the defendant might, might, might have or relate to that

  19    has to do with the access fee issue that's involved in this

  20    case.   That issue, of course, is ripe for argument and for

  21    decision.

  22         So at this time then I'll ask counsel, when they come

  23    forward, to place their appearances on the record.           And I will

  24    ask counsel for the moving party.

  25         And we have two plaintiffs here, Hi-Lex and Burroughs.
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   1    And i would ask counsel for the plaintiffs to come forward to

   2    the lectern to place his appearance on the file and to then

   3    proceed with his presentation of his motion to compel.

   4         Counsel?

   5         MR. PHELPS:     Thank you, Your Honor.      Aaron Phelps on

   6    behalf of plaintiffs.      Also with me is Perrin Rynders.

   7         Your Honor, as you stated, this is the plaintiff's second

   8    motion to compel discovery.       The issue today is our request

   9    for production of communications likely to be principally any

  10    communications discussing access fees.

  11         The Court may recall from the prior hearing and the

  12    briefing, the access fees are what the plaintiffs have alleged

  13    were the hidden fees, hidden charges, that were charged to

  14    them by Blue-Cross since 1994, not disclosed, not agreed to.

  15         Naturally, as part of our initial discovery in this case,

  16    back in September, we asked the defendant to produce

  17    communications, whether they be with us or internally, that

  18    discuss or relate to the access fees.        Within that would be

  19    included emails that discussed why that they chose to set

  20    about this access fee scheme, why they initiated access fees

  21    instead of including the fees on the bills, why the contracts

  22    were changed the way they were, why they'd been changed over

  23    time, emails about disclosure or nondisclosure.

  24         Communications internally by Blue-Cross that perhaps

  25    discuss whether the fees should be disclosed to customers, any
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   1    of their customers, including the plaintiffs.

   2         Perhaps there are admissions within those communications

   3    where a Blue-Cross representative acknowledges that he or she

   4    doesn't even know about the access fees or there's an internal

   5    directive inside of Blue-Cross to not disclose the access

   6    fees.

   7         It is, frankly, hard to imagine communications and

   8    documents that would be more relevant to this case, a case

   9    about hidden access fees, then the very communications within

  10    Blue-Cross that discuss those access fees.

  11         This is actually the second hearing we've had on this

  12    issue.   At the first hearing, I believe it was early March, we

  13    spent nearly three hours in a conference room, counsel for the

  14    parties discussing this issue and trying to reach a resolution

  15    short of a formal hearing.

  16         And we came out and put on the record that we had reached

  17    a framework for resolution; and the framework was that I would

  18    provide a letter to opposing counsel detailing more

  19    specifically the types of emails and communications we were

  20    looking for.

  21         The complaint we heard during the conference was that our

  22    requests were too broad and too vague and so on.          So they

  23    asked for more specificity and we agreed to provide that,

  24    which we did on March 16 in a three-page -- four-page letter

  25    specifically identifying 37 topics.
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   1           As part of our agreement at the last hearing, Blue-Cross'

   2    counsel was supposed to review that and cooperate with us and

   3    communicate with us on how we could go about getting these

   4    communications.

   5           Never has Blue-Cross responded to this letter.         I've had

   6    no communication with them regarding this issue.          Despite the

   7    fact that we spent all that time together, we came to an

   8    agreement.

   9           I put the work into doing a letter to try to reach a

  10    resolution on this issue.      They don't respond it to, they

  11    haven't talked about it, they haven't offered any compromise,

  12    haven't offered to provide any material that we have asked

  13    for.

  14           It appears at the last hearing it was simply a way to

  15    delay this another several weeks, which was accomplished.

  16    We're now five weeks later and we still don't have the emails

  17    and communications we need.

  18           Their response is principally two-fold.        One is they say

  19    these are not relevant.      Two, they say it's too burdensome for

  20    them to produce the emails.

  21           While on the relevancy, I've already indicated the type

  22    of documents that we want.      They want to boil this case down

  23    to, well, the only thing that's relevant is whether we

  24    disclosed it.    And we've given you the emails that show

  25    whether we actually disclosed the fees to you.
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   1         Well, the issue is, of course, much broader and much more

   2    complicated then that.      Because communications internally that

   3    say not to disclose something would not have been provided to

   4    us, would not have had a name on them, would not have been and

   5    were not produced by Blue-Cross.

   6         And, yet, clearly, an internal admission not to disclose

   7    the access fees for an admission that they weren't disclosed,

   8    admissions that customers didn't understand the access fees

   9    would be clearly relevant.

  10         In fact, we've taken one deposition of an account manager

  11    related to the Hi-Lex case, a Blue-Cross Account Manager, and

  12    that account manager testified that she didn't know for many

  13    years that there were access fees.

  14         The fees were not only hidden from us, the customer, they

  15    were hidden from the Blue-Cross Account Managers themselves.

  16         So the idea that the working group, the folks in charge

  17    of this access fee program at Blue-Cross don't have

  18    communications where they discuss how and to what extent and

  19    whether to discuss these access fees is ludicrous.           Of course

  20    they do.

  21         And clearly admissions on their part that they're not

  22    disclosed, that people don't understand them would be highly,

  23    highly relevant and probative to the issues in this case.

  24    That's what the whole case is about.

  25         So, again, they're not only directly relevant, but when
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   1    you couple that with the, the broad civil discovery under the

   2    Federal Rules under really any analysis, it's hard to imagine

   3    how these are not at least discoverable, and in my view,

   4    they're also clearly going to be admissible.

   5         So that brings us then to their second and what I really

   6    view is their final argument this idea that it's too

   7    burdensome.

   8         I'm sure -- it was in their response and I'm sure we'll

   9    hear about it again today.      We already heard about it a little

  10    bit at our pre-hearing conference, on how Blue-Cross has so

  11    many employees, 7,000 employees, they have tremendous amount

  12    of email and this is, you know, terribly burdensome for them

  13    to produce what we've asked for.       There's really three

  14    responses to that, Your Honor.

  15         One is that large companies do not get a pass on civil

  16    discovery.    It doesn't matter how big you are, you still have

  17    to do discovery, you still have to produce relevant material.

  18         Frankly, what we had -- they are in a better position to

  19    do this discovery than a smaller company.         They have an army,

  20    I'm sure of IT people and staff, who understands these issues

  21    who can find these emails, can do the searches all internally.

  22         Our clients have far fewer resources, less sophisticated

  23    in the world of IT, but we've done the searches that they

  24    want.

  25         In some cases, our clients had to get additional software
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   1    and add ons and things to do this, but we did it.

   2           They asked us for emails, they gave us search terms.          We

   3    went, we performed searches, we provided documents.           No

   4    arguments from us on producing the documents that they've

   5    requested.

   6           So the simple fact that they're a large company is

   7    irrelevant consideration regarding whether they actually have

   8    to produce relevant material that they have.

   9           Second, it wasn't apparently too burdensome for them to

  10    do searches for the documents they wanted to find.

  11           What was alluded to at our short conference before this

  12    hearing was that they have done, in their view, a reasonable

  13    search.    They've provided the documents that they think are

  14    relevant.    Well, of course, that's not how discovery works.

  15           I get to ask for the things that I want to prove my case,

  16    and subject to supplementations, they have to provide the

  17    documents that I have asked for.

  18           They have flipped this completely around and they

  19    unilaterally decided what they wanted to produce, the searches

  20    they wanted to do.      They went and did those and then produced

  21    documents that they think help their case, or in some cases

  22    are just benign, but that's what they came up with.

  23           Absent from their production are -- I go as far as to say

  24    any.    I don't recall seeing any internal Blue-Cross

  25    communications related to access fees.         And they have archived
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   1    they say every email in their system since 2004.           Presumably

   2    they have some emails prior to 2004.         But at any rate, at

   3    least they have every email since 2004.

   4           And the idea that there was not some internal

   5    communication among the work group on the access fees, among

   6    the actuary folks, among the senior account managers and sales

   7    managers about access fees, you know, is incredible.           I mean

   8    somebody came up with this program, somebody discussed it.

   9    There was some internal communication.

  10           Now, again, it wasn't widely disclosed in the company

  11    because some of their account managers didn't know about it

  12    and it certainly wasn't disclosed to the plaintiffs in these

  13    cases.

  14           But the upper level management types within Blue-Cross

  15    certainly had some communication about it.          There's none.

  16    None of that has been produced.        According to their papers,

  17    they haven't even looked for that at all because it didn't

  18    meet their criteria for what's relevant.

  19           Your Honor alluded to the 30 or so folks that we've

  20    identified.    What that was was a compromise that we offered

  21    Blue-Cross.    They said, well, we have 7,000 employees.          And we

  22    said, well, no problem.      You know you don't need to search

  23    7,000 employees for relevant emails.

  24           Based on your own documents, we know who the key people

  25    are.    Based on your own witness list, we know who the key
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   1    people are.

   2          And you take 7,000 and you funnel it down to really what

   3    amounts to a handful, you know, around 30 folks, all of whom

   4    were either account managers for us on their witness list as

   5    having knowledge about the case or were identified in

   6    documents as involved in some capacity with the access fee

   7    program.

   8          Then we said use the search terms you gave us, flip it

   9    around.    Your search terms, you use those and search all of

  10    the emails and communications that relate to these 30 folks.

  11    And they said no.     They won't do that.      It's too burdensome to

  12    do that.

  13          Well I don't know how that could be too burdensome when

  14    they apparently searched all 7,000 employees to come up with

  15    the emails that they did produce with their limited criteria.

  16    So I fail to see why assertion 30 would be too burdensome.

  17          Frankly, the options here are they just don't produce

  18    anything that we've asked for, which is what they want.            Or to

  19    do this what I consider a pretty reasonable fair compromise

  20    which is actually less than what some of our clients have

  21    done.

  22          Plaintiff Burroughs, for example, did a search of all 80

  23    or so of their employees using their search terms.

  24          So if Burroughs can do a search of 80 employees, then I

  25    think Blue-Cross ought to be able to handle 30 but, again,
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   1    that was a compromise.      If they don't want to do that, then

   2    fine, but you're still going to have to produce the documents.

   3          If you don't want to use the reasonable search that we've

   4    came up with, they can go through every one physically by hand

   5    if they want, but they need to figure out a way that the Court

   6    and we are satisfied is appropriate and captured all of the

   7    relevant email and they need to produce them.

   8          Timing is another critical issue, Your Honor.          As

   9    unfortunately you know, we asked for this -- these documents

  10    back in September.      We didn't actually figure out that they

  11    had withheld this portion of email until around the First of

  12    the year because they did produce some, so we were under the

  13    impression they actually produced the email that we asked for.

  14          When we figured out they had only produced what they

  15    wanted to, you know, we, frankly, pretty immediately filed the

  16    motion which led to the hearing in March.          As I said, that was

  17    delayed resolution based on their, you know, suggested

  18    compromise which they had never followed up on.

  19          Now here we are in the middle of April and we still have

  20    these documents and discovery closes, I believe, in June and

  21    we're being forced to take depositions without the benefit of

  22    having these key documents.

  23          So we ask that the Court order that that they immediately

  24    produce the documents that have been requested, and we'd also

  25    ask that the Court award costs and attorneys fees to
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   1    plaintiffs to having to bring this motion for a second time.

   2    Thank you.

   3          THE COURT:    I just -- are you through?

   4          MR. PHELPS:    Yes, I am.

   5          THE COURT:    I want to ask you one question, but I

   6    don't -- are you through with your presentation?

   7          MR. PHELPS:    Yes, I am.

   8          THE COURT:    My question is this.

   9          I think in your motion papers with regard to the

  10    relevancy question, you do reference the fact that one of your

  11    causes of action does involve intent.         I think it's one of the

  12    causes of action with regard to fraud, I think.

  13          MR. PHELPS:    Yes.

  14          THE COURT:    Because the, the comment was made in

  15    opposition to the motion that, well, intent has nothing to do

  16    with this case.     But I think your position is well it does, at

  17    least with regard to one cause of action.

  18          Do I understand correctly what your position is?

  19          MR. PHELPS:    You understand part of the position on that

  20    exactly, Your Honor.      There's two specific reasons that's

  21    relevant.

  22          One is what you've outlined, that we do have a state

  23    common law fraud claim that clearly has intent as an element.

  24          And the judge in this -- Judge Roberts, has ordered us to

  25    do discovery on these state law claims.         We've pointed that
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   1    out, read the order into the record the last time.

   2          So there is a claim for discovery purposes for common law

   3    fraud.   Intent's an element.      We need discovery on that.

   4          In addition, though, under ERISA, the claims that are

   5    presently pending before the Court that even Blue-Cross

   6    acknowledges are pending, we have the statute of limitations

   7    issue.   They've asserted the statute of limitations as an

   8    affirmative defense.

   9          The statute of limitations -- the time period under that

  10    federal statute depends on whether there has been fraud or

  11    concealment.

  12          So in order to apply the statute of limitations, the

  13    Court will necessarily need to determine whether there's been

  14    fraud on the part of Blue-Cross or whether there's been

  15    concealment on the part of Blue-Cross.

  16          So an element of the statute of limitations issue is also

  17    to some degree intent or concealment, what was going on at

  18    Blue-Cross and about this issue.

  19          If there were emails where they said let's not disclose

  20    the access fees or if somebody suggested we should make a

  21    better disclosure of the access fees and somebody else at

  22    Blue-Cross said, no, we don't want to do that, clearly that

  23    goes right to the heart of concealment, fraud, and that's a

  24    direct issue under both the ERISA federal claims and under the

  25    state common law claim.
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   1          THE COURT:    Okay.

   2          MR. PHELPS:    And one last note that I was reminded of.

   3    You made the comment earlier about some of these folks being

   4    retired.

   5          They weren't retired, of course, when they sent these

   6    emails.    They have the emails.      The fact that some of these 30

   7    folks are no longer with Blue-Cross is really an irrelevant

   8    point because they, Blue-Cross, still has the emails that

   9    those people sent while they were employees.

  10          And, in fact, some of these former employees were on

  11    their witness list, have been deposed, notwithstanding the

  12    fact they're no longer employed there.         So retired or not, the

  13    emails exist and are relevant.

  14          THE COURT:    It's your motion, so you'll have a right of

  15    rebuttal.

  16          MR. PHELPS:    Thank you, Your Honor.

  17          THE COURT:    I'll invite counsel for Blue Cross-Blue

  18    Shield to come forward, place his appearances on the record

  19    and to make his presentation with regard to this motion.

  20          Counsel?

  21          MR. GOURLEY:    Morning, Your Honor.      Jason Gourley on

  22    behalf of Blue Cross-Blue Shield of Michigan.          I also have

  23    with me Matthew Rechtien.

  24          Your Honor, I'd like to start by addressing the last

  25    issue that Mr. Phelps addressed in response to your question
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   1    about discovery with respect to a claim that might include

   2    intent.

   3          There was a lengthy discussion of how it was imperative

   4    that you have discovery on this state law claim.

   5          One thing that Mr. Phelps forgot to inform the Court is

   6    that the state law claims have been dismissed in this matter.

   7          So I don't know how he intends to get discovery on those

   8    claims since they've been dismissed and Rule 26 does not allow

   9    discovery of dismissed claims.        So that issue, I think, is, is

  10    taken care of just by that simple fact.

  11          Secondly, I believe that Mr. Phelps realizes a little bit

  12    on some revisionist history, so I'd like to just walk through

  13    it a little bit.

  14          This is not an instance where Blue-Cross has not done

  15    anything to try to find the documents that Mr. Phelps has

  16    requested.    In fact, the opposite has happened.

  17          We began this case, as he said, month and months ago.

  18    And during -- since the case was initiated, plaintiffs have

  19    engaged in what can only be perceived at least as a somewhat

  20    oppressive approach to discovery and this is just the latest

  21    step in that.

  22          To date for Hi-Lex and Burroughs, they've served over 100

  23    requests for admissions, 90 interrogatories, 200 requests for

  24    production.    Plus, if you count their most recent 30(b)(6)

  25    notice which they also included a duces tecum request, that
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   1    would be another 100 categories because the duces tecum had

   2    58.

   3          And then this is accommodation that Mr. Phelps referred

   4    to that he gave to us after the last hearing featured 37 more

   5    document requests.      So we're pushing, you know, 350 document

   6    requests.

   7          Blue-Cross has done their best to respond to all of those

   8    discovery requests to institute a search that produced the

   9    documents that he was looking for.

  10          I'm sure Your Honor's familiar with the search; we put it

  11    in our papers.     Blue-Cross started with 370 emails.        They

  12    instituted a search that targeted -- well, first of all, they

  13    did a review of all the paper files for all of the individuals

  14    involved in servicing the Hi-Lex and Burroughs account.            That

  15    would turn up the most relevant documents in this case, which,

  16    of course, would be contract documents, communications back

  17    and forth, give and take, quarterly settlements, annual

  18    settlements and, also included disclosures of the access fees

  19    in what's called Blue Reports where there's a pie chart that

  20    specifically sets forth for a given year this is the amount of

  21    access fees.

  22          All of those documents were, were searched, found,

  23    produced.    In fact, those were produced with initial

  24    disclosures.     We didn't even wait for discovery requests.         We

  25    produced those early and that was a mutual agreement between
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   1    the parties, but that was done very early on in the process.

   2          In terms of the email search, Blue-Cross instituted to

   3    search 370 emails.      They targeted any documents that would

   4    have been exchanged using searches for Hi-Lex and Burroughs.

   5    Of course, that would show up in email address, names, so you

   6    know it would be at Hi-Lex or at Burroughs.          It included a

   7    search of all of the main email accounts for the people who

   8    serviced the Hi-Lex Burroughs account.         That created universal

   9    documents of 91 gigabytes.

  10          We then did an intense review of all of those documents

  11    and produced thousands of responsive documents.

  12          Now also during that process, we narrowed the search by

  13    using the set of key terms.       It's interesting that Mr. Phelps

  14    wants to rely on his use of the key terms as showing that his

  15    search was reasonable because he used ours.

  16          We, we used a set of terms, 12 I think, annual

  17    settlement, annual renewal, value of blue, access fees, AAF.

  18    These were all discussed with counsel; he knows them.            It was

  19    targeted to produce documents that, as he's searching for,

  20    discussed anything having to do with access fees, charging,

  21    disclosing, anything, that was done and that produced the

  22    universe of documents that we've provided to counsel.

  23          Now as to the relevancy argument, in his brief,

  24    Mr. Phelps uses I think three basic areas to justify the

  25    relevancy of documents internal to Blue-Cross that he claims
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   1    might show a discussion of access fees or some sort of

   2    nefarious scheme to hide them from customers and also to

   3    justify his request for documents regarding access fees from

   4    other Blue-Cross customers.

   5          Those three things interestingly have one thing in

   6    common; and that is, they're all limited to information

   7    regarding the plaintiffs.       He says the relevancy is supported

   8    by these following facts or inquiries from him.

   9          Blue-Cross charged access fees without prior

  10          disclosure to or agreement from plaintiffs.

  11          Blue-Cross did not fully disclose the amount

  12          of access fees charged to plaintiffs.

  13          And BCBS misrepresented access fees had not

  14          been charged are reporting certain amounts

  15          charged to plaintiffs as actual claims paid.

  16          I think he hit on what our relevancy argument is.           This

  17    case, at the end of the day, deals with whether Blue-Cross,

  18    under the contract, had the ability to charge the access fees.

  19          Hi-Lex and Burroughs had knowledge of those access fees,

  20    whether they continued to pay them after they had knowledge of

  21    those access fees.

  22          Now there was some discussion of, well we need this

  23    discovery, Your Honor, because we have to respond to an early

  24    motion for summary.

  25          And in our meeting before the -- before the hearing, Your
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   1    Honor brought up a point and asked -- you asked me I assume

   2    your, your motion's going to focus on these disclosures that

   3    you say were produced in your email search.

   4          They're communications between Blue-Cross and Hi-Lex and

   5    Burroughs where Blue-Cross discloses the access fees; you're

   6    going to rely on that for your motion for summary.           That is

   7    true.

   8          Now what's interesting is that any internal emails from

   9    Blue-Cross between Blue-Cross individuals, that's not going to

  10    be relevant to refuting whether or not the disclosures were

  11    actually made.

  12          I mean, the plain fact of the matter is the documents are

  13    there.   We're relying on actual documents, actual emails,

  14    actual value blue reports that have the disclosures there.

  15          Even if there was some sort of nefarious email or

  16    something, which really I highly doubt there is because we've

  17    done extensive searches, that email is irrelevant, if later on

  18    down the road, Blue-Cross says here's the access fees or if

  19    every Blue-Cross individual working on the Hi-Lex Burroughs

  20    file says here, you know, here are the access fees for the

  21    year.

  22          In fact in this case, we have an internal document which

  23    is called a Customer Confirmation Notice that was presented to

  24    a Hi-Lex individual where specifically a Blue-Cross

  25    representative discussed the fact that access fees were going
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   1    to be charged, filled out a confirmation notice with Hi-Lex

   2    representatives and they acknowledged that.

   3          Now, you know, a wild goose chase into a conspire theory

   4    to try to drum up all these emails is just not relevant.

   5          I mean what's relevant is the communications with respect

   6    to the access fees between the parties and we've tailored a

   7    search that has produced those, those relevant documents.

   8          Now in terms of burdensome, the search being burdensome,

   9    first of all, Mr. Phelps just ignores the fact that we have

  10    done a search already.      Part of the reason the second search

  11    is burdensome is because we've already done a search to

  12    produce relevant documents.

  13          And his argument is interesting but a bit circular.           He

  14    says, well they did it already so it can't be that burdensome,

  15    so -- well do it again.

  16          Well the original search was burdensome.         I mean we, we

  17    tried to institute a search that was as reasonable as we could

  18    but it was still extremely burdensome.         It took many, many

  19    hours of time as well as, you know many, many hours of

  20    attorney review.

  21          We culled through 91 gigs of documents.         It was not an

  22    effort to avoid or obfuscate the discovery, it was the exact

  23    opposite.

  24          Now he's not happy with the results because, for the most

  25    part, it turned up documents showing disclosure.           And you know
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   1    he claims, well, they only want to produce what is helpful to

   2    them.

   3          Well, you know, he wants what's helpful to him, we all

   4    do, that's what litigation is about.         Okay.   But it doesn't

   5    mean that he can get free range in discovery in the things

   6    that are irrelevant.

   7          Also what's interesting here is that I guess I'd like to

   8    use his -- I'd like to use plaintiff's original search as a

   9    baseline for an analysis of what a reasonable search in this

  10    case is.

  11          We also served discovery requests early in this case

  12    seeking emails and electronic documents as well.

  13          And we were originally notified by plaintiff's counsel

  14    that their original search was to simply ask the principle

  15    plaintiff's representatives to send them what they thought was

  16    relevant.    They didn't even do a search.       They didn't use key

  17    words, they just let the litigants themselves decide what was

  18    relevant.    Obviously, that was disconcerting to Blue-Cross.

  19          So we -- when pressed, plaintiff's counsel also admitted

  20    that given the way their email system was set up, that there

  21    was a possibility that certain emails had been deleted because

  22    if too many emails get on the system, it automatically deletes

  23    them to make space.      Again, we were wondering how is this --

  24    how is our search not okay, but they're deleting emails and

  25    that's okay.
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   1          Then plaintiff's counsel also admitted they didn't do any

   2    key word searches.      We specifically had to request the key

   3    word searches and the only searches they did were the ones

   4    Blue-Cross had originally used on their own documents to

   5    produce responsive documents to the plaintiff.

   6          I mean three, four, five steps down the road, the only

   7    meaningful search of plaintiff's documents happened because

   8    they used the same search terms and same process they are now

   9    opposing here.     It was reasonable for them, but now they're

  10    claiming -- for them to use it as a search, but now they're

  11    claiming it's not reasonable either.

  12          And on top of the fact that they're searching irrelevant

  13    documents, I just don't think that it is appropriate for

  14    Blue-Cross to bear yet another burden when it's not -- it

  15    hadn't been reciprocated.

  16          The reason a lot of this came up in the first place is a

  17    lot of our concerns about their first search is that when we

  18    got their document responses, that their documents -- response

  19    to our requests, they didn't have many of the same

  20    communications that were in our production to them.

  21          Interestingly, some of them were emails that attached

  22    Blue Reports or other documents that could be used to show

  23    disclosure of the access fees.        Now I don't know if that was

  24    select production.      Mr. Phelps has claimed maybe we had

  25    selective production.      We haven't.    But it's, it's happened on
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   1    both sides, that's what started this discussion in the first

   2    place.

   3          On top of that, you know, those documents that were

   4    disclosed and not produced in Mr. Phelps' original set of

   5    documents showing disclosure, he also happened to leave off

   6    the complaint a valuable Blue Report that was attached to an

   7    annual settlement that he did attach to the complaint.            So

   8    there's a little bit of gamesmanship maybe, but I think it's

   9    important to look at it all on a broader level.

  10          A couple of other things that I wanted to address.           One

  11    is the concept of seeking information about Blue-Cross's

  12    dealings or access fee communications addressing access fees

  13    with other customers.

  14          Again I think this goes back to my original point and

  15    that's that Blue-Cross' dealings with customers, first of all,

  16    are proprietary, an important part of the business task force.

  17          Blue-Cross don't necessarily want to open the doors to

  18    other customers for lots of reasons, not the least of which is

  19    maybe the other Blue-Cross customers don't want competitors or

  20    other people seeing the documents.

  21          But the other reason that we're particularly worried

  22    about that in this case is that we conducted third-party

  23    discovery through a subpoena to a third-party benefits agent.

  24          And in response to that, received emails that showed that

  25    Mr. Phelps was at least communicating with this third-party
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   1    agent in an effort to find potential other plaintiffs for

   2    these cases.

   3          And you know on the face of it, it's not relevant but,

   4    again adding on to that, the possibility that just using this

   5    as an avenue to find additional plaintiffs, I mean, I just

   6    don't think that it's proper.

   7          Again that end of the day, whether Blue-Cross disclosed

   8    access fees to Joe Blow down the street isn't going to win the

   9    day for plaintiffs.      It's going come down to, strictly

  10    speaking, whether or not there was disclosure made to

  11    Burroughs or to Hi-Lex.      That same concept applies to the

  12    statute of limitations argument.

  13          I mean, whether there was, you know, whether there was

  14    disclosure is going to be the key issue in triggering or not

  15    triggering the statute of limitations and proving or not

  16    proving fraudulent concealment.

  17          We already produced documents to that extent.          He has

  18    them and those are the only relevant facts to that point.

  19          So for those reasons, we would ask that the Court accept

  20    the search that Blue-Cross's already performed and deny the

  21    plaintiff's motion.

  22          THE COURT:    Thank you, counsel.

  23          All right.    Well, the motion is taken under advisement to

  24    the extent that it deals with the Rule 30(b)(6) matter because

  25    that's -- we'll await the motion to quash hearing on the 24th.
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   1          The motion is granted with regard to remainder of the

   2    motion.    And that the order will provide that the discovery

   3    should be furnished by the defendant -- that the discovery be

   4    furnished -- would be discovery that was referred to in your

   5    most recent letter to the defendant, so I will ask to you

   6    check with my law clerk after the hearing to make sure that we

   7    have a copy of that available.

   8          I will not award any costs at this time, but we'll permit

   9    the plaintiffs to renew requests for costs if the discovery

  10    that's ordered is not provided by the defendant.

  11          I'll put a time limit this will take some time to go

  12    through this process.      So I'll say 21 days for -- and that

  13    the, the order, of course, will provide that the, the, the

  14    parties as are white a square parties are quite aware

  15    objections to the order can be lodged.         If objections are

  16    lodged, you have 14 days from receipt of the copy of order,

  17    then it will be up to the district judge rule on those

  18    objections.    But that's the ruling of the Court.

  19          In making that ruling, I conclude that under the

  20    discovery rule of relevancy, whether it's relevant to a claim

  21    or defense that the information being sought and being ordered

  22    by the Court is relevant in two respects.

  23          First to the question of intent with regard to the state

  24    law cause of action involving fraud and also involving the

  25    statute of limitations issue with regard to the ERISA claim.
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   1    So that's my ruling.      And I believe that it is -- it meets the

   2    test of relevancy under the discovery rules.

   3          And that I conclude at this time that I have not been

   4    persuaded that there is an undue burden placed upon the

   5    defendant to do this.

   6          And, of course, the discovery being sought would be

   7    sought by the defendant and in accordance with the search

   8    terms that the defendant has previously provided to plaintiff

   9    and that may be referred to in your most recent letter.

  10          So that's the ruling of the Court.        And so we'll try to

  11    get an order out on this as quickly as possible.           Okay.

  12          Court's in recess at this time and the recording -- the

  13    transcript will be placed -- not the transcript, but the

  14    recording will be placed in the files and records of the

  15    court.   Thank you.

  16          (Whereupon this hearing was then concluded at 11:13 a.m.)

  17                      CERTIFICATE OF TRANSCRIBER
  18

  19      I do hereby certify that the foregoing is a correct
  20    transcription from the digital sound recording of proceedings
  21    in the above-entitled matter on the date hereinbefore set
  22    forth and has been prepared by me or under my direction
  23    to the best of my ability.
  24

  25    s/Carol S. Sapala, FCRR, RMR             April 20, 2012
